                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )       Case No. 1:05-CR-139
vs.                                                 )
                                                    )
BETTY JEAN WILLIAMS                                 )       JUDGE EDGAR


                               MEMORANDUM AND ORDER

       The defendant appeared for a hearing before the undersigned on July 13, 2009, in accordance
with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant for Offender
Under Supervision of U.S. Probation Officer Kevin Matherly and the Warrant for Arrest issued by
U.S. District Judge R. Allan Edgar. Those present for the hearing included:

               (1) AUSA James Brooks for the USA.
               (2) The defendant BETTY JEAN WILLIAMS.
               (3) U.S. Probation Officer Kevin Matherly.
               (4) Attorney Neal Thompson for defendant.
               (5) Courtroom Deputy Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of her
privilege against self-incrimination accorded her under the 5th Amendment to the United States
Constitution.

         It was determined the defendant wished to be represented by an attorney and she qualified
for the appointment of an attorney to represent her at government expense. Attorney Neal Thompson
was appointed to represent the defendant. It was determined the defendant had been provided with
a copy of the Petition for Warrant for Offender Under Supervision and the Warrant for Arrest and
had the opportunity of reviewing those documents with Atty. Thompson. It was also determined the
defendant was capable of being able to read and understand the copy of the aforesaid documents she
had been provided.

       AUSA Brooks called USPO Kevin Matherly as a witness and moved that the defendant be
detained pending the revocation hearing.

                                            Findings

       (1) Based upon USPO Matherly’s testimony, the undersigned finds there is probable
       cause to believe defendant has committed violations of her conditions of supervised
       release as alleged or set forth in the Petition.

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    (2) The defendant has not carried her burden under Rule 32.1(a)(6) of the Federal
    Rules of Criminal Procedure, that if released on bail she will not pose a danger to the
    community.

                                        Conclusions

    It is ORDERED:

    (1) The motion of AUSA Brooks that the defendant be DETAINED WITHOUT
    BAIL pending the revocation hearing before U.S. District Judge Curtis L. Collier is
    GRANTED.

    (2) The U.S. Marshal shall transport BETTY JEAN WILLIAMS to a revocation
    hearing before Judge Collier on Thursday, August 13, 2009, at 2:00 pm.

    ENTER.

    Dated: July 13, 2009                   s/William B. Mitchell Carter
                                           UNITED STATES MAGISTRATE JUDGE




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